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 1                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 2
                                          )
 3    DEBBIE ANN BERG,                    )              Case No. 3:18-cv-05339-BHS
      individually and on behalf          )
 4    of all others similarly situated,   )
                                          )
 5                        Plaintiff,      )
                                          )
 6            v.                          )              NOTICE OF CHANGE OF ADDRESS
                                          )
 7    EQUIFAX       INFORMATION SERVICES, )
      LLC                                 )
 8                                        )
                          Defendant.      )
 9                                        )

10   TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

11          PLEASE TAKE NOTICE that effective immediately our new address is 1600 Market

12   Street, Suite 2510, Philadelphia, PA 19103. Our telephone number, fax number and emails have

13   stayed the same.

14

15   Date: September 17, 2018                  FRANCIS & MAILMAN, P.C.

16

17                                             /s/ James A. Francis
                                               James A. Francis (pro hac vice)
18                                             Land Title Building, Suite 1902
                                               1600 Market Street, Suite 2510
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21

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23

24
                                                     1
                                                                              FRANCIS & MAILMAN, P.C.
                                                                            1600 Market Street, Suite 2510
                         NOTICE OF CHANGE OF ADDRESS                           Philadelphia, PA 19103
                                                                       TEL: 215-735-8600  FAX: 215-940-8000
